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                                     UNITED STATES DISTRICT COURT FOR
                                       THE DISTRICT OF PUERTO RICO
     ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐X
     In re:                                                                        :   PROMESA
                                                                                   :   Title III
     THE FINANCIAL OVERSIGHT AND                                                   :
     MANAGEMENT BOARD FOR PUERTO RICO,                                             :   Case No. 17‐BK‐3283 (LTS)
                                                                                   :
     as representative of                                                          :   (Jointly Administered)
                                                                                   :
     THE COMMONWEALTH OF PUERTO RICO et al.,
                                                                                   :
     Debtors.1                                                                     :
     ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐X


                         FURTHER ORDER PURSUANT TO BANKRUPTCY
                     RULES 1007(i) and 2004 AUTHORIZING DISCOVERY AND
                    COMPELLING DISCLOSURE OF LISTS OF SECURITY HOLDERS

             Upon further consideration of the Urgent Motion of the Financial Oversight and

 Management Board of Puerto Rico for Entry of an Order Under Bankruptcy Rules 1007(i) and

 2004 Authorizing Discovery and Compelling Disclosure of Lists of Security Holders dated April

 8, 2019 [ECF No. 6143] (the “Urgent Motion”)2, the Order Pursuant to Bankruptcy Rules




 1
       The Debtors in these Title III cases, along with each Debtor's respective Title III case number and the
       last four (4) digits of each Debtor's federal tax identification number, as applicable, are the (i)
       Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17‐BK‐3283 (LTS)) (Last
       Four Digits of Federal Tax ID: 3481), (ii) Employees Retirement System of the Government of the
       Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17‐BK‐3566 (LTS)) (Last Four Digits of
       Federal Tax ID: 9686), (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy
       Case No. 17‐BK‐3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808), (iv) Puerto Rico Sales Tax
       Financing Corporation (“COFINA”) (Bankruptcy Case No. 17‐BK‐3284 (LTS)) (Last Four Digits of Federal
       Tax ID: 8474), and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17‐BK‐
       4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as Bankruptcy
       Case numbers due to software limitations).
 2
       Capitalized terms not defined in this Order shall have the meanings ascribed to them in the Urgent
       Motion.

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 1007(i) and 2004 Authorizing Discovery and Compelling Disclosure of Lists of Security Holders

 [ECF No. 6384] (the “First Order”), and the exhibits attached thereto, and the representations

 made in the Informative Motion of the Financial Oversight and Management Board for Puerto

 Rico, Acting By and Through Its Special Claims Committee, Regarding Further Order Pursuant to

 Bankruptcy Rules 1007(i) and 2004 Authorizing Discovery and Compelling Disclosure of Lists of

 Security Holders [ECF No. 6492] (the “Informative Motion”), the Court hereby FINDS AND

 DETERMINES that based on the statements and arguments made in the Urgent Motion and in

 the Informative Motion, the Court has found that disclosure pursuant to Rule 1007(i) and

 examination under Rule 2004 of the Federal Rules of Bankruptcy Procedure is appropriate and

 the parties referred to in the First Order have met and conferred regarding the creation of an

 appropriate confidentiality restriction as reflected herein, and have submitted the proposal

 reflected below, in compliance with the First Order and in agreement as to the provisions thereof.

 Accordingly, it is hereby ORDERED that:

      1. The Urgent Motion is further granted as provided herein.

      2. To the extent any federal, state or foreign law or other legal authority governing the
         disclosure or use of confidential information, including personal data or nonpublic
         personal financial information, permits disclosure of such information pursuant to an
         order of a court, this order shall constitute such an order.

      3. The Oversight Board shall not disclose any Confidential Information3 to any person for
         any purpose, except as provided below:



 3
     “Confidential Information” constitutes or contains nonpublic proprietary or confidential technical,
     business, financial, personal, or other information of a nature that can be protected under Rule 26(c)
     of the Federal Rules of Civil Procedure and Rule 7026 or 9018 of the Federal Rules of Bankruptcy
     Procedure, or is subject by law or by contract to a legally protected right of privacy. For the
     avoidance of doubt, Confidential Information includes customer/consumer names and addresses,
     account numbers, and identification of securities held in the accounts. The term “Confidential
     Information,” however, shall not include information within the public domain that is furnished by

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            a. The Oversight Board may disclose any Confidential Information to (a) the UCC
               and/or any trustee appointed pursuant to 11 U.S.C. § 926, and (b) each such
               party’s representatives, professionals, and members, provided that the foregoing
               restrictions shall apply to all such parties and persons (each in such capacity, a
               “Receiving Party”);

            b. The Receiving Party may disclose the identity of any person or entity who is a
               defendant to a Challenged Bonds Avoidance Action, together with such person’s
               or entity’s address, the date of receipt of any transfers alleged to be avoidable,
               the amounts of any such transfers individually and in the aggregate, and the
               Challenged Bond CUSIP numbers corresponding to any such transfers, in any
               document necessary to file, serve, and prosecute the Challenged Bonds Avoidance
               Actions. Notwithstanding the foregoing, in accordance with Local Rule 5.2 of the
               District of Puerto Rico, the Receiving Party shall, to the extent it seeks to disclose
               Confidential Information in any pleading, motion, objection, or other public
               document pursuant to this paragraph, redact all (1) social security or employer
               identification numbers of individuals or entities, (2) names of any individuals
               known by the Receiving Party to be minor children as of the date of disclosure; (3)
               dates of birth of individuals, (4) financial account numbers, and (5) home or
               business addresses, other than such individuals’ or entities’ city and state of
               residence, provided, however, that in any Challenged Bond Avoidance Action not
               involving an individual known by the Receiving Party to be a minor child at the
               time of disclosure, the Receiving Party shall file any initial pleading and case
               commencement materials using a pseudonym name for the defendant, and file
               with the Court under seal a “key” list matching pseudonyms to actual names, and
               provided further that the obligation to utilize a pseudonym as provided herein
               extends only to the initial pleading and case commencement materials and shall
               terminate twenty‐one (21) days after the Receiving Party provides such
               defendant, at the time of service, with reasonable notice and an opportunity to
               object to the use of its Confidential Information. For the avoidance of doubt, (a)
               the Receiving Party may file under seal a single "key" matching pseudonyms to
               actual names of all defendants to all Challenged Bond Avoidance Actions
               commenced by such Receiving Party; (b) notice and opportunity for such
               defendants to object to use of Confidential Information may be provided by the
               Receiving Party in the body of any initial pleading and no further notice shall be
               required; and (c) this Order shall be self‐effectuating such that no Receiving Party
               shall be required to file any motion or other pleading with the Court regarding
               further permission to file such "key" under seal.



   any provider of information (“Provider”) to a third party who is under no obligation to keep the
   information confidential.

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           c. Upon the latest of (a) the date that a final judgment has been entered and satisfied
              as to all Challenged Bonds Avoidance Actions and (b) the date that the above‐
              captioned PROMESA Title III cases are closed by the Court, the Receiving Parties
              shall destroy all Confidential Information. Notwithstanding the foregoing, the
              Receiving Parties shall be permitted to retain, in accordance with its documented
              practices, professional obligations, applicable law or automatic electronic backup
              systems, archival copies of any Confidential Information. For the avoidance of
              doubt, the Receiving Parties shall not be required to destroy or erase any
              electronic copy of such materials that is created pursuant to its standard
              electronic backup and archival procedures, if only personnel whose functions are
              primarily information technology in nature have access to such retained copies
              (except to the extent used for any purpose outlined above in this paragraph) and
              such personnel’s access is limited to that reasonably necessary for the
              performance of their information technology duties. Notwithstanding the
              destruction of Confidential Information pursuant to this paragraph, the Receiving
              Parties will continue to be bound by their confidentiality obligations and other
              obligations under this Order in perpetuity; and

           d. In the event that a Receiving Party receives a request to disclose all or any part of
              the Confidential Information under the terms of a subpoena or other order issued
              by a court of competent jurisdiction or by another governmental agency, relevant
              regulatory authority or by the mandatory rules or requirements of any recognized
              investment exchange, the Receiving Party shall to the extent permitted by law or
              the mandatory rules or requirements of any recognized investment exchange (a)
              promptly notify the Provider of the existence, terms and circumstances
              surrounding such a request, (b) consult with the Provider on the advisability of
              taking steps to resist or narrow such request, (c) if disclosure of such Confidential
              Information is required, furnish only such portion of the Confidential Information
              as the Receiving Party reasonably determines is legally required to be disclosed
              and (d) cooperate, at the Provider’s expense, with the Provider in its efforts to
              obtain a protective order or other relief to prevent the disclosure of the
              Confidential Information or other reliable assurance that confidential treatment
              will be accorded to such portion of the Confidential Information that is required
              to be disclosed.

    4. The Receiving Party shall maintain Confidential Information in a secure and safe area and
       shall exercise a standard of due and proper care with respect to the storage, custody, use,
       and/or dissemination sufficient to safeguard against unauthorized or inadvertent
       disclosure of Confidential Information. Confidential Information shall not be copied,
       reproduced, extracted or abstracted, except to the extent that such copying,
       reproduction, extraction or abstraction is reasonably necessary for the conduct of the
       Challenged Bonds Avoidance Actions. All such copies, reproductions, extractions, and
       abstractions shall be subject to the terms of this Order and labeled in the same manner
       as the designated material on which they are based. If a Receiving Party learns that there

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        has been a material breach of a Provider’s Confidential Information due to unauthorized
        access by a third‐party (including unauthorized access by a current or former employee
        of the Receiving Party) to Confidential Information in the Receiving Party’s possession,
        custody or control, the Receiving Party shall as soon as possible notify the Provider of such
        breach and shall cooperate, or cause its designated agents to cooperate, with the
        Provider and the Provider’s agents in the investigation and resolution of such breach.
        Nothing in this provision, however, shall be construed as authorizing or requiring a party
        to violate any law, court order, or regulatory obligation prohibiting the Receiving Party
        from notifying the Provider of such breach.

    5. Any Provider or Receiving Party may seek additional orders from the Court that such Party
       believes may be necessary to comply with any law or contractual obligation relating to
       personal data or non‐party financial information.

    6. The terms of and conditions of this Order shall be immediately effective and enforceable
       upon its entry.



        SO ORDERED.

                                                              / s / Judith Gail Dein
                                                              Judith Gail Dein
                                                              United States Magistrate Judge
 DATED: April 24, 2019




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